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                      IN THE t;NITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED ST ATES OF AMERICA

              v.                                             MAGISTRATE NOS. 19-143-M-l & 2

SEARCH OF CERTAIN PROPERTY


                                            ORDER

              A-r--;D NOW, this
                                      111 day of February 2019, it is hereby
                                  ft!.!__
                                          ORDERED

that the Application for Search and Seizure Warrant, the executed Search and Seizure Warrant

and inventory, the Affidavit in Support of the Search and Seizure Warrant; the Search and

Seizure Warrant Return, and accompanying docket papers are hereby UNIMPOL';\;DED.




                                              BY THE COURT:




                                              United States Magistrate Judge
             Case 2:19-mj-00143 Document 5 Filed 02/19/19 Page 2 of 3



                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERl\J DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

               v.                                           MAGISTRATE NO. 19-143-M-l & 2

SEARCH OF CERTAIN PROPERTY


                               MOTIO~ TO L'NIMPOL'ND
                            SEARCH WARRANT MATERIALS

              The United States of America, through its attorneys William M. McSwain, United

States Attorney, and John S. Han, Trial Attorney, Organized Crime and Gang Section, United

States Department of Justice, hereby moves to unimpound that the Application for Search and

Seizure Warrant, the executed Search and Seizure Warrant and inventory, the Affidavit in

Support of the Search and Seizure Warrant, the Search and Seizure Warrant Return, and

accompanying docket papers, and in support of this motion states as follows:

               1.     On January 29, 2019, Honorable Elizabeth T. Hey, United States

Magistrate Judge, upon motion of the government, entered an Order impounding the Search and

Seizure Warrant, the Application for Search and Seizure Warrant, the Affidavit in Support of the

Search and Seizure Warrant, any subsequent inventory, and accompanying docket papers in the

above-captioned matter.

              2.      On January 31, 2019, the search warrant was executed.

              3.      In light of the foregoing, the government requests that the Application for

Search and Seizure Warrant, the executed Search and Seizure Warrant and inventory, the

Affidavit in Support of the Search and Seizure Warrant, the Search and Seizure Warrant Return,

and accompanying docket papers be unsealed and unimpounded.
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              WHEREFORE, the government respectfully requests that the government's

motion to unimpound search warrant materials be granted.

                                           Respectfully submitted,

                                           WILLIAM M. MCSWAIN
                                           United States Attorney




Date: February 15, 2019




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